                                        Case:17-01220-swd
 Fill in this information to identify your case and this filing:                                Doc #:13 Filed: 03/30/17                                    Page 1 of 35

 Debtor 1                   Jennifer                      Lee                           Elliott
                             First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing)         First Name                    Middle Name                   Last Name

 United States Bankruptcy Court for the:                                 Western District of Michigan

 Case number            17-01220                                                                                                                                               ❑Check if this is an
                                                                                                                                                                                   amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                         12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ❑ No. Go to Part 2.
      ✔ Yes. Where is the property?
      ❑
                                                                              What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
      1.1     1800 sf Site Condominium                                       ❑ Single-family home                                                          amount of any secured claims on Schedule D:
              Street address, if available, or other                         ❑ Duplex or multi-unit building                                               Creditors Who Have Claims Secured by Property.
              description                                                    ✔ Condominium or cooperative
                                                                             ❑                                                                           Current value of the          Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?              portion you own?
                                                                             ❑ Land
              5819 Hemlock Dr.
                                                                                                                                                                     $198,000.00                  $198,000.00
                                                                             ❑ Investment property
               Holt, MI 48842                                                ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
              City                               State        ZIP Code
                                                                             ❑ Other                                                                     estate), if known.
                                                                              Who has an interest in the property? Check one.
                                                                             ✔ Debtor 1 only
                                                                                                                                                           Fee Simple
                                                                             ❑
              Ingham                                                         ❑ Debtor 2 only
              County
                                                                             ❑ Debtor 1 and Debtor 2 only                                                 ❑ Check if this is community property
                                                                             ❑ At least one of the debtors and another
                                                                                                                                                              (see instructions)



 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                    ➜              $198,000.00




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
        ❑ No
        ✔ Yes
        ❑




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                        page 1
                                                                                                                                                                 Case number (if known)
 Debtor 1                  Jennifer           Case:17-01220-swd
                                                  Lee               Doc #:13 Filed: 03/30/17
                                                               Elliott                                                                                        Page  2 of 35
                                                                                                                                                                 17-01220
                           First Name                     Middle Name                      Last Name



       3.1 Make:                                   Chevrolet                 Who has an interest in the property? Check one.                                Do not deduct secured claims or exemptions. Put the
                                                   Traverse
                                                                            ✔ Debtor 1 only
                                                                            ❑                                                                               amount of any secured claims on Schedule D:
            Model:
                                                                            ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2012                     ❑ Debtor 1 and Debtor 2 only                                                   Current value of the       Current value of the
                                                                            ❑ At least one of the debtors and another
            Year:
                                                   89000                                                                                                   entire property?           portion you own?
            Approximate mileage:                                                                                                                                        $11,425.00                 $11,425.00
            Other information:                                              ❑Check if this is community property (see
                                                                                 instructions)
             Fair to good condition; recent accident
             (damage repaired); minor body damage;
             interior wear and tear.




      If you own or have more than one, list here:


       3.2 Make:                                   Chevrolet                 Who has an interest in the property? Check one.                                Do not deduct secured claims or exemptions. Put the
                                                   Malibu
                                                                            ✔ Debtor 1 only
                                                                            ❑                                                                               amount of any secured claims on Schedule D:
            Model:
                                                                            ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2012                     ❑ Debtor 1 and Debtor 2 only                                                   Current value of the       Current value of the
                                                                            ❑ At least one of the debtors and another
            Year:
                                                   74000                                                                                                   entire property?           portion you own?
            Approximate mileage:                                                                                                                                         $8,050.00                 $8,050.00
            Other information:                                              ❑Check if this is community property (see
                                                                                 instructions)




 4.      Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
         Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
         ✔ No
         ❑
         ❑ Yes


 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here.........................................................................................................                 ➜            $19,475.00




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                                   Current value of the
                                                                                                                                                                                      portion you own?
                                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                                      claims or exemptions.

 6.    Household goods and furnishings
       Examples:       Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe........
       ❑
                                               Furniture, decor, window coverings, appliances, cookware, dishes, utensils, bedding, television, tools,
                                               lawn mower, grill, lawn furniture, misc. household.                                                                                                   $4,170.00




Official Form 106A/B                                                                                     Schedule A/B: Property                                                                    page 2
                                                                                                                                                                      Case number (if known)
 Debtor 1                   Jennifer            Case:17-01220-swd
                                                    Lee               Doc #:13 Filed: 03/30/17
                                                                 Elliott                                                                                           Page  3 of 35
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                            First Name                     Middle Name                        Last Name



 7. Electronics
       Examples:        Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                        electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                 Additional televisions, two computers, cell phone, tablets                                                                                     $1,000.00



 8.    Collectibles of value
       Examples:        Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                        stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
       ✔ No
       ❑
       ❑ Yes. Describe........

 9. Equipment for sports and hobbies
       Examples:        Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                        carpentry tools; musical instruments

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                 Misc sporting goods; 2 basic cameras.                                                                                                           $250.00



 10.    Firearms
        Examples:         Pistols, rifles, shotguns, ammunition, and related equipment
        ✔ No
        ❑
        ❑ Yes. Describe........

 11.    Clothes
        Examples:         Everyday clothes, furs, leather coats, designer wear, shoes, accessories

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                 Women's and children's clothing.                                                                                                                $800.00



 12.    Jewelry
        Examples:         Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                 Costume jewelry: rings, earrings, watch.
                                                                                                                                                                                                 $300.00



 13.    Non-farm animals
        Examples:         Dogs, cats, birds, horses
        ✔ No
        ❑
        ❑ Yes. Describe........

 14.    Any other personal and household items you did not already list, including any health aids you did not list

        ✔ No
        ❑
        ❑ Yes. Describe........

 15.    Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
        for Part 3. Write that number here........................................................................................................................................➜            $6,520.00




Official Form 106A/B                                                                                        Schedule A/B: Property                                                             page 3
                                                                                                                                                                                   Case number (if known)
 Debtor 1                    Jennifer               Case:17-01220-swd
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                                                                                                                                                                                   17-01220
                             First Name                          Middle Name                            Last Name




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                         Current value of the
                                                                                                                                                                                                      portion you own?
                                                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                                                      claims or exemptions.


 16.   Cash
       Examples:           Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       ✔ No
       ❑
       ❑ Yes.............................................................................................................................................................   Cash..............


 17.   Deposits of money
       Examples:           Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                           similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                                                                                         Institution name:



                                                17.1. Checking account:                                                                                                                                           unknown


                                                17.2. Checking account:                                   LAFCU                                                                                                    $1,800.00


                                                17.3. Savings account:                                    MSUFCU                                                                                                       $5.00


                                                17.4. Savings account:                                    LAFCU                                                                                                        $5.00


                                                17.5. Certificates of deposit:


                                                17.6. Other financial account:


                                                17.7. Other financial account:


                                                17.8. Other financial account:


                                                17.9. Other financial account:


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:           Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................




Official Form 106A/B                                                                                                    Schedule A/B: Property                                                                    page 4
                                                                                                                             Case number (if known)
 Debtor 1                 Jennifer       Case:17-01220-swd
                                             Lee               Doc #:13 Filed: 03/30/17
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                                                                                                                             17-01220
                          First Name              Middle Name            Last Name



 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ❑ No
       ✔ Yes. List each account
       ❑
            separately.
                                       Type of account:          Institution name:

                                       401(k) or similar plan:                                                                                        unknown


 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................
 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:        Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 27.   Licenses, franchises, and other general intangibles
       Examples:        Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                        professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....




Official Form 106A/B                                                                 Schedule A/B: Property                                           page 5
                                                                                                                                Case number (if known)
 Debtor 1              Jennifer        Case:17-01220-swd
                                           Lee               Doc #:13 Filed: 03/30/17
                                                        Elliott                                                              Page  6 of 35
                                                                                                                                17-01220
                       First Name               Middle Name             Last Name



 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes.    Give specific information about         |                                                                      Federal:
                 them, including whether you
                 already filed the returns and the       |                                                                      State:
                 tax years.......................
                                                         |                                                                      Local:



 29.   Family support
       Examples:     Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ✔ No
       ❑
       ❑ Yes.    Give specific information..........
                                                                                                                                Alimony:

                                                                                                                                Maintenance:

                                                                                                                                Support:

                                                                                                                                Divorce settlement:

                                                                                                                                Property settlement:


 30.   Other amounts someone owes you
       Examples:     Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                     Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




 31.   Interests in insurance policies
       Examples:     Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       ✔ No
       ❑
       ❑ Yes.    Name the insurance company
                 of each policy and list its value....

 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:     Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes.    Describe each claim................




Official Form 106A/B                                                               Schedule A/B: Property                                                page 6
                                                                                                                                                                    Case number (if known)
 Debtor 1                  Jennifer            Case:17-01220-swd
                                                   Lee               Doc #:13 Filed: 03/30/17
                                                                Elliott                                                                                          Page  7 of 35
                                                                                                                                                                    17-01220
                           First Name                     Middle Name                        Last Name



 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜                 $1,810.00



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ✔No. Go to Part 6.
       ❑
       ❑Yes. Go to line 38.
 38.   Accounts receivable or commissions you already earned

       ❑ No
       ❑ Yes. Describe........

 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ❑ No
       ❑ Yes. Describe........

 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ❑ No
       ❑ Yes. Describe........

 41.   Inventory

       ❑ No
       ❑ Yes. Describe........

 42.   Interests in partnerships or joint ventures

       ❑ No
       ❑ Yes. Describe........

                                           Name of entity:                                                                                                        % of ownership:

                                                                                                                                                                                    %


                                                                                                                                                                                    %



Official Form 106A/B                                                                                       Schedule A/B: Property                                                            page 7
                                                                                                                                                                    Case number (if known)
 Debtor 1                  Jennifer            Case:17-01220-swd
                                                   Lee               Doc #:13 Filed: 03/30/17
                                                                Elliott                                                                                          Page  8 of 35
                                                                                                                                                                    17-01220
                           First Name                     Middle Name                        Last Name




                                                                                                                                                                              %


 43.   Customer lists, mailing lists, or other compilations
       ❑ No
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ❑ No
               ❑ Yes. Describe........

 44.   Any business-related property you did not already list

       ❑ No
       ❑ Yes. Give specific
            information.........




 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.
 47.   Farm animals
       Examples:         Livestock, poultry, farm-raised fish
       ❑ No
       ❑ Yes.........................

 48.   Crops—either growing or harvested

       ❑ No
       ❑ Yes. Give specific
            information.............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ❑ No
       ❑ Yes..........................



Official Form 106A/B                                                                                       Schedule A/B: Property                                                            page 8
                                                                                                                                                                            Case number (if known)
 Debtor 1                   Jennifer             Case:17-01220-swd
                                                     Lee               Doc #:13 Filed: 03/30/17
                                                                  Elliott                                                                                                Page  9 of 35
                                                                                                                                                                            17-01220
                            First Name                       Middle Name                         Last Name



 50.   Farm and fishing supplies, chemicals, and feed

       ❑ No
       ❑ Yes..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ❑ No
       ❑ Yes. Give specific
            information.............



 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:          Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                                 $0.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜                    $198,000.00


 56.   Part 2: Total vehicles, line 5                                                                                        $19,475.00


 57.   Part 3: Total personal and household items, line 15                                                                     $6,520.00


 58.   Part 4: Total financial assets, line 36                                                                                 $1,810.00


 59.   Part 5: Total business-related property, line 45                                                                              $0.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                                     $0.00


 61.   Part 7: Total other property not listed, line 54                                                +                             $0.00


 62.   Total personal property. Add lines 56 through 61..............                                                        $27,805.00             Copy personal property total➜         +          $27,805.00




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................                                   $225,805.00




Official Form 106A/B                                                                                            Schedule A/B: Property                                                                   page 9
                                       Case:17-01220-swd
 Fill in this information to identify your case:                           Doc #:13 Filed: 03/30/17                          Page 10 of 35
 Debtor 1                Jennifer              Lee                    Elliott
                          First Name            Middle Name            Last Name

 Debtor 2
 (Spouse, if filing)      First Name            Middle Name            Last Name

 United States Bankruptcy Court for the:                  Western District of Michigan

 Case number
 (if known)
                       17-01220
                                                                                                                                           ❑Check if this is an
                                                                                                                                              amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                             04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt


 1.    Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       ❑ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
       ✔ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
       ❑
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

      Brief description of the property and line on        Current value of the         Amount of the exemption you claim           Specific laws that allow exemption
      Schedule A/B that lists this property                portion you own
                                                           Copy the value from          Check only one box for each exemption.
                                                           Schedule A/B

                                                                                     ✔
                           1800 sf Site
                           Condominium                           $198,000.00         ❑                  $12,156.08                  11 U.S.C. § 522(d)(1)
      Brief                5819 Hemlock Dr. Holt, MI                                 ❑      100% of fair market value, up to any
      description:         48842                                                            applicable statutory limit
      Line from
      Schedule A/B:        1.1


                                                                                     ✔
                          Furniture, decor, window
                          coverings, appliances,                   $4,170.00         ❑                   $4,170.00                  11 U.S.C. § 522(d)(3)
                          cookware, dishes,                                          ❑      100% of fair market value, up to any
                          utensils, bedding,                                                applicable statutory limit
                          television, tools, lawn
                          mower, grill, lawn
      Brief               furniture, misc.
      description:        household.

      Line from
      Schedule A/B:        6

 3. Are you claiming a homestead exemption of more than $160,375?
       (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
       ✔ No
       ❑
       ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
          ❑ No
          ❑ Yes




Official Form 106C                                                Schedule C: The Property You Claim as Exempt                                                     page 1 of 1
 Debtor 1            Jennifer     Case:17-01220-swd
                                      Lee               Doc #:13 Filed: 03/30/17
                                                    Elliott                                                      PageCase
                                                                                                                       11number
                                                                                                                           of 35(if known)
                                                                                                                     17-01220
                     First Name            Middle Name              Last Name


 Part 2: Additional Page
     Brief description of the property and line on       Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property               portion you own
                                                         Copy the value from    Check only one box for each exemption.
                                                         Schedule A/B

                                                                                ✔
                       Additional televisions, two
    Brief              computers, cell phone,                   $1,000.00       ❑               $1,000.00                  11 U.S.C. § 522(d)(3)
    description:       tablets                                                  ❑   100% of fair market value, up to any
                                                                                    applicable statutory limit
    Line from
    Schedule A/B:      7



                                                                                ✔
    Brief              Misc sporting goods; 2
    description:       basic cameras.                            $250.00        ❑                $250.00                   11 U.S.C. § 522(d)(5)

    Line from
                                                                                ❑   100% of fair market value, up to any
                                                                                    applicable statutory limit
    Schedule A/B:      9




                                                                                ✔
    Brief              Women's and children's
    description:       clothing.                                 $800.00        ❑                $800.00                   11 U.S.C. § 522(d)(3)

    Line from
                                                                                ❑   100% of fair market value, up to any
                                                                                    applicable statutory limit
    Schedule A/B:      11




                                                                                ✔
    Brief              Costume jewelry: rings,
    description:       earrings, watch.                          $300.00        ❑                $300.00                   11 U.S.C. § 522(d)(4)

    Line from
                                                                                ❑   100% of fair market value, up to any
                                                                                    applicable statutory limit
    Schedule A/B:      12




                                                                                ✔
    Brief              MSUFCU
    description:       Savings account                              $5.00       ❑                 $5.00                    11 U.S.C. § 522(d)(5)

    Line from
                                                                                ❑   100% of fair market value, up to any
                                                                                    applicable statutory limit
    Schedule A/B:      17




                                                                                ✔
    Brief              LAFCU
    description:       Checking account                         $1,800.00       ❑               $1,800.00                  11 U.S.C. § 522(d)(5)

    Line from
                                                                                ❑   100% of fair market value, up to any
                                                                                    applicable statutory limit
    Schedule A/B:      17




                                                                                ✔
    Brief              LAFCU
    description:       Savings account                              $5.00       ❑                 $5.00                    11 U.S.C. § 522(d)(5)

    Line from
                                                                                ❑   100% of fair market value, up to any
                                                                                    applicable statutory limit
    Schedule A/B:      17




Official Form 106C                                            Schedule C: The Property You Claim as Exempt                                           Additional Page
                                       Case:17-01220-swd
 Fill in this information to identify your case:                        Doc #:13 Filed: 03/30/17                       Page 12 of 35
 Debtor 1                Jennifer             Lee                  Elliott
                          First Name          Middle Name           Last Name

 Debtor 2
 (Spouse, if filing)      First Name          Middle Name           Last Name

 United States Bankruptcy Court for the:                Western District of Michigan

 Case number
 (if known)
                       17-01220
                                                                                                                                             ❑Check if this is an
                                                                                                                                                amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
   ❑No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
   ✔Yes. Fill in all of the information below.
   ❑
 Part 1: List All Secured Claims

 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for each     Column A                 Column B              Column C
    claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much as possible, Amount of claim          Value of              Unsecured
    list the claims in alphabetical order according to the creditor’s name.                                           Do not deduct the        collateral that       portion
                                                                                                                      value of collateral.     supports this         If any
                                                                                                                                               claim
2.1 Ally Financial                                      Describe the property that secures the claim:                            $11,395.26            $8,050.00         $3,345.26
     Creditor's Name                                    2012 Chevrolet Malibu
      PO Box 380912
     Number             Street                          As of the date you file, the claim is: Check all that apply.
                                                        ❑Contigent
      Bloomington, IL 55438                             ❑Unlquidated
                                                        ❑Disputed
     City                           State   ZIP Code
     Who owes the debt? Check one.
     ✔ Debtor 1 only
     ❑                                                  Nature of lien. Check all that apply.
                                                        ✔An agreement you made (such as mortgage or
                                                        ❑
     ❑Debtor 2 only                                         secured car loan)
     ❑Debtor 1 and Debtor 2 only                        ❑Statutory lien (such as tax lien, mechanic's lien)
     ❑At least one of the debtors and another           ❑Judgment lien from a lawsuit
     ❑Check if this claim relates to a                  ❑Other (including a right to offset)
         community debt
     Date debt was incurred                             Last 4 digits of account number

      Add the dollar value of your entries in Column A on this page. Write that number here:                                   $11,395.26




Official Form 106D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 2
 Debtor 1              Jennifer       Case:17-01220-swd
                                          Lee               Doc #:13 Filed: 03/30/17
                                                        Elliott                                                       PageCase
                                                                                                                            13number
                                                                                                                                of 35(if known)
                                                                                                                          17-01220
                       First Name            Middle Name             Last Name


                                                                                                                      Column A                Column B              Column C
              Additional Page                                                                                         Amount of claim         Value of              Unsecured
  Part 1:
              After listing any entries on this page, number them beginning                                           Do not deduct the       collateral that       portion
              with 2.3, followed by 2.4, and so forth.                                                                value of collateral.    supports this         If any
                                                                                                                                              claim

 2.2 MSU Federal Credit Union                          Describe the property that secures the claim:                             $13,350.93           $11,425.00        $1,925.93
     Creditor's Name                                   2012 Chevrolet Traverse
     3777 West Road                                     Fair to good condition; recent accident (damage repaired);
     Number          Street                             minor body damage; interior wear and tear.
                                                       As of the date you file, the claim is: Check all that apply.

     East Lansing, MI 48823
                                                       ❑Contigent
     City                           State   ZIP Code   ❑Unlquidated
     Who owes the debt? Check one.                     ❑Disputed
     ✔ Debtor 1 only
     ❑                                                 Nature of lien. Check all that apply.
     ❑Debtor 2 only                                    ✔An agreement you made (such as mortgage or
                                                       ❑
     ❑Debtor 1 and Debtor 2 only                           secured car loan)
     ❑At least one of the debtors and another          ❑Statutory lien (such as tax lien, mechanic's lien)
     ❑Check if this claim relates to a                 ❑Judgment lien from a lawsuit
        community debt                                 ❑Other (including a right to offset)
     Date debt was incurred
     10/17/2014                                        Last 4 digits of account number



 2.3 PennyMac                                          Describe the property that secures the claim:                            $185,843.92          $198,000.00              $0.00
     Creditor's Name                                   1800 sf Site Condominium
     PO Box 514387                                      5819 Hemlock Dr. Holt, MI 48842
     Number          Street                            As of the date you file, the claim is: Check all that apply.
                                                       ❑Contigent
     Los Angeles, CA 90051                             ❑Unlquidated
                                                       ❑Disputed
     City                           State   ZIP Code
     Who owes the debt? Check one.
     ✔ Debtor 1 only
     ❑                                                 Nature of lien. Check all that apply.
                                                       ✔An agreement you made (such as mortgage or
                                                       ❑
     ❑Debtor 2 only                                        secured car loan)
     ❑Debtor 1 and Debtor 2 only                       ❑Statutory lien (such as tax lien, mechanic's lien)
     ❑At least one of the debtors and another          ❑Judgment lien from a lawsuit
     ❑Check if this claim relates to a                 ❑Other (including a right to offset)
        community debt
     Date debt was incurred                            Last 4 digits of account number




      Add the dollar value of your entries in Column A on this page. Write that number here:                                 $199,194.85
      If this is the last page of your form, add the dollar value totals from all pages. Write that number                    $210,590.11
      here:




Official Form 106D                            Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 2
                                       Case:17-01220-swd
 Fill in this information to identify your case:                        Doc #:13 Filed: 03/30/17                       Page 14 of 35

 Debtor 1                Jennifer           Lee                    Elliott
                          First Name         Middle Name            Last Name

 Debtor 2
 (Spouse, if filing)      First Name         Middle Name            Last Name

 United States Bankruptcy Court for the:                Western District of Michigan


                                                                                                                                            ❑Check if this is an
 Case number           17-01220
 (if known)
                                                                                                                                                amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                        12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ✔ No. Go to Part 2.
     ❑
     ❑ Yes.
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total claim      Priority        Nonpriority
                                                                                                                                                   amount          amount

                                                                    Last 4 digits of account number
        Priority Creditor's Name
                                                                    When was the debt incurred?
        Number            Street                                    As of the date you file, the claim is: Check all that
                                                                    apply.
                                                                    ❑ Contingent
                                                                    ❑ Unliquidated
                                                                    ❑ Disputed
        City                            State     ZIP Code
        Who incurred the debt? Check one.
        ❑ Debtor 1 only                                             Type of PRIORITY unsecured claim:
        ❑ Debtor 2 only                                             ❑ Domestic support obligations
        ❑ Debtor 1 and Debtor 2 only                                ❑ Taxes and certain other debts you owe the
        ❑ At least one of the debtors and another                       government
        ❑ Check if this claim is for a community debt               ❑ Claims for death or person injury while you were
                                                                        intoxicated
        Is the claim subject to offset?                             ❑ Other. Specify
        ❑ No
        ❑ Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 11
                                      Case:17-01220-swd                    Doc #:13 Filed: 03/30/17                       PageCase
                                                                                                                                15number
                                                                                                                                   of 35(if known)
 Debtor 1              Jennifer               Lee                      Elliott                                                     17-01220
                       First Name             Middle Name               Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     Barclay's Bank Delaware                                                                                                                                       $1,502.00
                                                                                  Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          11/10/2015
        PO Box 8803
                                                                                  As of the date you file, the claim is: Check all that apply.
        Number           Street
                                                                                  ❑ Contingent
                                                                                  ❑ Unliquidated
                                                                                  ❑ Disputed
          Wilmington, DE 19601
        City                              State     ZIP Code
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  ❑ Student loans
        Who incurred the debt? Check one.
        ✔ Debtor 1 only
        ❑
                                                                                  ❑ Obligations arising out of a separation agreement or
        ❑ Debtor 2 only                                                               divorce that you did not report as priority claims
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Debts to pension or profit-sharing plans, and other
        ❑ At least one of the debtors and another                                     similar debts
        ❑ Check if this claim is for a community debt                             ✔ Other. Specify
                                                                                  ❑
                                                                                      Credit Card
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes
4.2     Capital One Bank USA                                                                                                                                          $1,128.00
                                                                                  Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          8/19/2015
        PO Box 85015
                                                                                  As of the date you file, the claim is: Check all that apply.
        Number           Street
                                                                                  ❑ Contingent
                                                                                  ❑ Unliquidated
                                                                                  ❑ Disputed
        Richmond, VA 23285
        City                              State     ZIP Code
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  ❑ Student loans
        Who incurred the debt? Check one.
        ✔ Debtor 1 only
        ❑
                                                                                  ❑ Obligations arising out of a separation agreement or
        ❑ Debtor 2 only                                                               divorce that you did not report as priority claims
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Debts to pension or profit-sharing plans, and other
        ❑ At least one of the debtors and another                                     similar debts
        ❑ Check if this claim is for a community debt                             ✔ Other. Specify
                                                                                  ❑
                                                                                      Credit Card
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes
4.3     Comenity Bank - Meijer                                                                                                                                             $992.00
                                                                                  Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          03/11/2016
        PO Box 182789
                                                                                  As of the date you file, the claim is: Check all that apply.
        Number           Street
                                                                                  ❑ Contingent
                                                                                  ❑ Unliquidated
                                                                                  ❑ Disputed
        Columbus, OH 43218
        City                              State     ZIP Code
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  ❑ Student loans
        Who incurred the debt? Check one.
        ✔ Debtor 1 only
        ❑
                                                                                  ❑ Obligations arising out of a separation agreement or
        ❑ Debtor 2 only                                                               divorce that you did not report as priority claims
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Debts to pension or profit-sharing plans, and other
        ❑ At least one of the debtors and another                                     similar debts
        ❑ Check if this claim is for a community debt                             ✔ Other. Specify
                                                                                  ❑
                                                                                      Charge Account
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes
Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 2 of 11
                                     Case:17-01220-swd                Doc #:13 Filed: 03/30/17                       PageCase
                                                                                                                           16number
                                                                                                                              of 35(if known)
 Debtor 1              Jennifer              Lee                   Elliott                                                    17-01220
                       First Name            Middle Name            Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim


4.4     Comenity Capital/Overstock                                                                                                                             $723.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          7/30/2015
        PO Box 182120
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
                                                                             ❑   Contingent

        Columbus, OH 43218
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 Charge Account
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.5     Credit One Bank                                                                                                                                   $1,703.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          05/26/2013
        PO Box 98873
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
                                                                             ❑   Contingent

        Las Vegas, NV 89193
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 Credit Card
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.6     Credit One Bank                                                                                                                                        $528.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          11/21/2016
        PO Box 98873
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
                                                                             ❑   Contingent

        Las Vegas, NV 89193
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 Credit Card
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                               page 3 of 11
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                                                                                                                           17number
                                                                                                                              of 35(if known)
 Debtor 1              Jennifer              Lee                   Elliott                                                   17-01220
                       First Name            Middle Name            Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim


4.7     DSNB/Macy's                                                                                                                                       $1,279.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          11/09/2013
        PO Box 8218
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
                                                                             ❑   Contingent

        Mason, OH 45050
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 Charge Account
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.8     Kay Jewelers                                                                                                                                           $136.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          09/24/2012
        375 Ghent Road
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
                                                                             ❑   Contingent

        Akron, OH 44333
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 Charge Account
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.9     Kohls/Capitol One                                                                                                                                      $993.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          12/20/2015
        PO Box 3115
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
                                                                             ❑   Contingent

        Milwaukee, WI 53201
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 Charge Account
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                               page 4 of 11
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 Debtor 1              Jennifer              Lee                   Elliott                                                   17-01220
                       First Name            Middle Name            Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim


4.10    Merrick Bank                                                                                                                                           $766.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          06/14/2016
        PO Box 9201
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
                                                                             ❑   Contingent

        Old Bethpage, NY 11804
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 Credit Card
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.11    MSU Federal Credit Union                                                                                                                          $3,029.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          07/01/2015
        3777 West Road
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
                                                                             ❑   Contingent

        East Lansing, MI 48823
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 Unsecured Loan
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.12    MSU Federal Credit Union                                                                                                                          $2,941.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          11/12/2015
        3777 West Road
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
                                                                             ❑   Contingent

        East Lansing, MI 48823
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 Unsecured Loan
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                               page 5 of 11
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                                                                                                                           19number
                                                                                                                              of 35(if known)
 Debtor 1              Jennifer              Lee                   Elliott                                                   17-01220
                       First Name            Middle Name            Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim


4.13    MSU Federal Credit Union                                                                                                                          $5,999.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          03/23/2012
        3777 West Road
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
                                                                             ❑   Contingent

        East Lansing, MI 48823
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 Credit Card
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.14    Sears/CBNA                                                                                                                                             $488.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          11/15/2011
        PO Box 6282
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
                                                                             ❑   Contingent

        Sioux Falls, SD 57117
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 Credit Card
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.15    Synchrony Bank/Amazon                                                                                                                             $1,650.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          07/10/2015
        4125 Windward Pz
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
                                                                             ❑   Contingent

        Alpharetta, GA 30005
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 Charge Account
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes




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                                                                                                                              of 35(if known)
 Debtor 1              Jennifer              Lee                   Elliott                                                   17-01220
                       First Name            Middle Name            Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim


4.16    Synchrony Bank/Art Van                                                                                                                            $1,943.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          07/05/2015
        950 Forrer Blvd.
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
                                                                             ❑   Contingent

        Kettering, OH 45420
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 Charge Account
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.17    Synchrony Bank/Care Credit                                                                                                                             $854.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          04/18/2012
        PO Box 965036
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
                                                                             ❑   Contingent

        Orlando, FL 32896
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 Charge Account
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.18    Synchrony Bank/JCPenney                                                                                                                                $491.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          10/30/2015
        PO Box 965036
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
                                                                             ❑   Contingent

        Orlando, FL 32896
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 Charge Account
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes




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                                                                                                                              of 35(if known)
 Debtor 1              Jennifer              Lee                   Elliott                                                    17-01220
                       First Name            Middle Name            Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim


4.19    Synchrony Bank/Lowe's                                                                                                                             $2,786.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          4/27/2014
        4125 Windward Pz
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
                                                                             ❑   Contingent

        Alpharetta, GA 30005
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 Charge Account
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.20    Synchrony Bank/Sams Club                                                                                                                          $2,688.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          11/02/2014
        PO Box 965005
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
                                                                             ❑   Contingent

        Orlando, FL 32896
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 Charge Account
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.21    Synchrony Bank/TJX Co DC                                                                                                                               $119.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          09/27/2016
        PO Box 965015
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
                                                                             ❑   Contingent

        Orlando, FL 32896
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 Charge Account
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes




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                                                                                                                              of 35(if known)
 Debtor 1              Jennifer              Lee                   Elliott                                                    17-01220
                       First Name            Middle Name            Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                        Total claim


4.22    Synchrony Bank/Walmart                                                                                                                                 $620.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          12/13/2015
        PO Box 965036
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
                                                                             ❑   Contingent

        Orlando, FL 32896
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 Credit Card
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.23    TD Bank USA/Target Credit                                                                                                                         $1,176.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          03/03/2016
                                                                             As of the date you file, the claim is: Check all that apply.
       Number           Street
        PO Box 673
                                                                             ❑   Contingent

        Minneapolis, MN 55440
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
                                                                                 Credit Card
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.24    US Department of Education                                                                                                                       $37,725.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?          9/26/2011
        PO Box 7860
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
                                                                             ❑   Contingent

        Madison, WI 53704
                                                                             ❑   Unliquidated
       City                              State     ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only
                                                                             ✔
                                                                             ❑   Student loans

       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
                                                                                 divorce that you did not report as priority claims
       ❑
                                                                             ❑
              Debtor 1 and Debtor 2 only
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ❑   Other. Specify
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes




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                                                                                                                             of 35(if known)
 Debtor 1              Jennifer            Lee                     Elliott                                                 17-01220
                       First Name          Middle Name              Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection
     agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly,
     if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons
     to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
        Equifax                                                       One which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        PO Box 740241                                                 Line   4.1   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims

                                                                      Last 4 digits of account number
        Atlanta, GA 30374
       City                                  State      ZIP Code


        Experian                                                      One which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        Po Box 2002                                                   Line   4.1   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims

                                                                      Last 4 digits of account number
        Allen, TX 75013-2002
       City                                  State      ZIP Code


        Transunion                                                    One which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        2 Baldwin Pl                                                  Line   4.1   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        PO Box 2000
        Crum Lynne, PA 19022-1370                                     Last 4 digits of account number
       City                                  State      ZIP Code


        ChexSystems                                                   One which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        7805 Hudson Road Ste 100                                      Line   4.1   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Attn.: Customer Relations
        St. Paul, MN 55125                                            Last 4 digits of account number
       City                                  State      ZIP Code


        Internal Revenue Service                                      One which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        PO Box 21126                                                  Line   4.1   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Centralized Insolvency Operations
        Philadelphia, PA 19114                                        Last 4 digits of account number
       City                                  State      ZIP Code


        Michigan Department of Treasury                               One which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        PO Box 30785                                                  Line   4.1   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Third Party Withholding Unit
        Lansing, MI 48909                                             Last 4 digits of account number
       City                                  State      ZIP Code


        Michigan Department of Treasury                               One which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        PO Box 30168                                                  Line   4.1   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Collection/Bankruptcy Unit
        Lansing, MI 48909                                             Last 4 digits of account number
       City                                  State      ZIP Code




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                                                                                                                       of 35(if known)
 Debtor 1              Jennifer            Lee                     Elliott                                           17-01220
                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                            Total claim


                   6a. Domestic support obligations                              6a.                               $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                 6b.                               $0.00
                       government

                   6c. Claims for death or personal injury while you             6c.                               $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.           6d.    +                          $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                           6e.                                $0.00




                                                                                            Total claim


                   6f. Student loans                                              6f.                         $37,725.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                    6g.                              $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and              6h.                              $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.         6i.   +                     $34,534.00
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                            6j.                          $72,259.00




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 11 of 11
                                       Case:17-01220-swd
 Fill in this information to identify your case:                         Doc #:13 Filed: 03/30/17                      Page 25 of 35
 Debtor 1                 Jennifer            Lee                   Elliott
                          First Name            Middle Name          Last Name

 Debtor 2
 (Spouse, if filing)      First Name            Middle Name          Last Name

 United States Bankruptcy Court for the:                 Western District of Michigan

 Case number
 (if known)
                       17-01220
                                                                                                                                           ❑Check if this is an
                                                                                                                                                 amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1.    Do you have any executory contracts or unexpired leases?
       ❑No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       ✔Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
       ❑
2.    List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
      vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



      Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1                                                                                             Karate Lessons for Child
       Holt Dojo                                                                                Contract to be ASSUMED
       Name
       2002 N Cedar St.
       Number      Street
       Holt, MI 48842
       City                             State       ZIP Code

2.2

       Name

       Number          Street

       City                             State       ZIP Code

2.3

       Name

       Number          Street

       City                             State       ZIP Code

2.4

       Name

       Number          Street

       City                             State       ZIP Code

2.5

       Name

       Number          Street

       City                             State       ZIP Code




Official Form 106G                                             Schedule G: Executory Contracts and Unexpired Leases                                               page 1 of 1
                                       Case:17-01220-swd
 Fill in this information to identify your case:                       Doc #:13 Filed: 03/30/17                       Page 26 of 35
 Debtor 1                Jennifer              Lee                Elliott
                          First Name           Middle Name         Last Name

 Debtor 2
 (Spouse, if filing)      First Name           Middle Name         Last Name

 United States Bankruptcy Court for the:               Western District of Michigan

 Case number
 (if known)
                       17-01220
                                                                                                                                          ❑Check if this is an
                                                                                                                                                amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                           12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ✔ No
      ❑
      ❑Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
    Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ✔No. Go to line 3.
      ❑
      ❑Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑No
        ❑Yes. In which community state or territory did you live?                                     . Fill in the name and current address of that person.


              Name

              Number          Street

              City                             State   ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
    codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
    Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                               Column 2: The creditor to whom you owe the debt
                                                                                                              Check all schedules that apply:
3.1                                                                                                           ❑Schedule D, line
      Name
                                                                                                              ❑Schedule E/F, line
      Number         Street                                                                                   ❑Schedule G, line
      City                             State     ZIP Code

3.2                                                                                                           ❑Schedule D, line
      Name
                                                                                                              ❑Schedule E/F, line
      Number         Street                                                                                   ❑Schedule G, line
      City                             State     ZIP Code

3.3                                                                                                           ❑Schedule D, line
      Name
                                                                                                              ❑Schedule E/F, line
      Number         Street                                                                                   ❑Schedule G, line
      City                             State     ZIP Code

Official Form 106H                                                          Schedule H: Your Codebtors                                                           page 1 of 1
                                       Case:17-01220-swd
 Fill in this information to identify your case:                       Doc #:13 Filed: 03/30/17                           Page 27 of 35

 Debtor 1                Jennifer           Lee                   Elliott
                          First Name        Middle Name            Last Name

 Debtor 2
 (Spouse, if filing)      First Name        Middle Name            Last Name                                                      Check if this is:

 United States Bankruptcy Court for the:               Western District of Michigan                                               ❑An amended filing
                                                                                                                                  ❑A supplement showing postpetition
 Case number           17-01220                                                                                                         chapter 13 income as of the following date:
 (if known)

                                                                                                                                        MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                Debtor 1                                            Debtor 2 or non-filing spouse

                                                                            ✔Employed
                                                                            ❑                                                    ❑Employed
     If you have more than one job,         Employment status
     attach a separate page with                                            ❑Not Employed                                        ❑Not Employed
     information about additional
     employers.                                                             Department Tech
                                            Occupation
     Include part time, seasonal, or
                                                                            State of Michigan
     self-employed work.                    Employer's name

     Occupation may include student                                         7150 Harris Dr
                                            Employer's address
     or homemaker, if it applies.                                            Number Street                                       Number Street




                                                                            Dimondale, MI 48821-5002
                                                                             City                     State    Zip Code          City                    State      Zip Code

                                            How long employed there?


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                          For Debtor 1       For Debtor 2 or
                                                                                                                             non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.              2.               $4,202.81                       $0.00

 3. Estimate and list monthly overtime pay.                                                  3.   +               $0.00      +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                             4.               $4,202.81                       $0.00




Official Form 106I                                                           Schedule I: Your Income                                                                     page 1
 Debtor 1                  Jennifer           Case:17-01220-swd
                                                  Lee               Doc #:13 Filed: 03/30/17
                                                                Elliott                                                                       PageCase
                                                                                                                                                    28number
                                                                                                                                                        of 35(if known)
                                                                                                                                                  17-01220
                           First Name                      Middle Name                         Last Name




                                                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                                                       non-filing spouse
      Copy line 4 here....................................................................................➔            4.              $4,202.81                   $0.00
 5.   List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                                5a.              $451.66                    $0.00

      5b. Mandatory contributions for retirement plans                                                                 5b.                $0.00                    $0.00

      5c. Voluntary contributions for retirement plans                                                                 5c.               $41.99                    $0.00

      5d. Required repayments of retirement fund loans                                                                 5d.                $0.00                    $0.00

      5e. Insurance                                                                                                    5e.              $448.39                    $0.00

      5f. Domestic support obligations                                                                                 5f.                $0.00                    $0.00

      5g. Union dues                                                                                                   5g.                $0.00                    $0.00

      5h. Other deductions. Specify: See additional page                                                               5h.
                                                                                                                             +           $71.15        +           $0.00

 6.   Add the payroll deductions.Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                       6.              $1,013.20                   $0.00
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.              $3,189.62                   $0.00
 8.   List all other income regularly recieved:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.
                                                                                                                       8a.                $0.00                    $0.00
      8b. Interest and dividends
                                                                                                                       8b.                $0.00                    $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                       8c.             $1,166.65                   $0.00
      8d. Unemployment compensation                                                                                    8d.                $0.00                    $0.00
      8e. Social Security                                                                                              8e.              $401.00                    $0.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
                                                                                                                       8f.                $0.00                    $0.00
            Specify:
                                                                                                                       8g.                $0.00                    $0.00
      8g. Pension or retirement income
      8h. Other monthly income. Specify: Pro-rated income tax refunds                                                  8h.   +          $300.00        +           $0.00


 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.              $1,867.65                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                         10.             $5,057.27   +                $0.00        =       $5,057.27

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                         11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                               12.          $5,057.27
                                                                                                                                                                                 Combined
                                                                                                                                                                                 monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ✔ No.
      ❑
      ❑Yes. Explain:

Official Form 106I                                                                                        Schedule I: Your Income                                                          page 2
 Debtor 1            Jennifer     Case:17-01220-swd
                                      Lee               Doc #:13 Filed: 03/30/17
                                                    Elliott                        PageCase
                                                                                         29number
                                                                                             of 35(if known)
                                                                                       17-01220
                     First Name        Middle Name    Last Name




                                                                                                               Amount



   5h. Other Deductions For Debtor 1
        Union Dues                                                                                               $20.10
        Legal Insurance                                                                                          $10.58
        Group Term Life                                                                                           $2.16

   8h. Other monthly income For Debtor 1
        Pro-rated income tax refunds                                                                            $300.00




Official Form 106I                                     Schedule I: Your Income                                      page 3
                                       Case:17-01220-swd
 Fill in this information to identify your case:                         Doc #:13 Filed: 03/30/17                  Page 30 of 35

 Debtor 1                Jennifer          Lee                     Elliott
                          First Name       Middle Name              Last Name
                                                                                                              Check if this is:
 Debtor 2                                                                                                     ❑An amended filing
 (Spouse, if filing)      First Name       Middle Name              Last Name
                                                                                                              ❑A supplement showing postpetition chapter 13 expenses
 United States Bankruptcy Court for the:                Western District of Michigan                               as of the following date:

                                                                                                                   MM / DD / YYYY
 Case number           17-01220
 (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ✔No. Go to line 2.
     ❑
     ❑Yes. Does Debtor 2 live in a separate household?
            ❑No
            ❑Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                  ❑No
     Do not list Debtor 1 and                ✔Yes. Fill out this information for
                                             ❑                                       Dependent's relationship to           Dependent's         Does dependent live
     Debtor 2.                                                                       Debtor 1 or Debtor 2                  age                 with you?
                                                 each dependent...............
     Do not state the dependents' names.                                                                                                       ❑No.
                                                                                      Child                                 17                 ✔Yes.
                                                                                                                                               ❑
                                                                                                                                               ❑No.
                                                                                      Child                                 10                 ✔Yes.
                                                                                                                                               ❑
                                                                                                                                               ❑No.
                                                                                      Child                                 10                 ✔Yes.
                                                                                                                                               ❑
                                                                                                                                               ❑No.
                                                                                      Child                                 4                  ✔Yes.
                                                                                                                                               ❑
                                                                                                                                               ❑No
                                                                                                                                               ❑Yes
 3. Do your expenses include expenses        ✔ No
                                             ❑
    of people other than yourself and
    your dependents?
                                             ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                              4.


     If not included in line 4:
                                                                                                                                4a.                      $0.00
     4a. Real estate taxes
                                                                                                                                4b.                      $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                4c.                     $25.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                4d.
     4d. Homeowner's association or condominium dues                                                                                                    $16.00




Official Form 106J                                                               Schedule J: Your Expenses                                                       page 1
 Debtor 1              Jennifer      Case:17-01220-swd
                                         Lee               Doc #:13 Filed: 03/30/17
                                                       Elliott                                               PageCase
                                                                                                                   31number
                                                                                                                       of 35(if known)
                                                                                                                 17-01220
                       First Name             Middle Name              Last Name


                                                                                                                             Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                   5.

 6.    Utilities:

       6a. Electricity, heat, natural gas                                                                           6a.                      $250.00

       6b. Water, sewer, garbage collection                                                                         6b.                      $141.86

       6c. Telephone, cell phone, Internet, satellite, and cable services                                           6c.                      $387.58

       6d. Other. Specify:                                                                                          6d.                        $0.00

 7.    Food and housekeeping supplies                                                                               7.                       $800.00

 8.    Childcare and children’s education costs                                                                     8.                         $0.00

 9.    Clothing, laundry, and dry cleaning                                                                          9.                       $100.00

 10. Personal care products and services                                                                            10.                       $75.00

 11.   Medical and dental expenses                                                                                  11.                       $25.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                   12.                      $225.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                             13.                      $118.74

 14. Charitable contributions and religious donations                                                               14.                        $0.00

 15. Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                    15a.                      $51.14
       15a. Life insurance
                                                                                                                    15b.                       $0.00
       15b. Health insurance
                                                                                                                    15c.                     $271.04
       15c. Vehicle insurance
                                                                                                                    15d.                       $0.00
       15d. Other insurance. Specify:

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                     16.                        $0.00

 17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                              17a.

       17b. Car payments for Vehicle 2                                                                              17b.

       17c. Other. Specify:                    Holt Dojo                                                            17c.                     $137.50

       17d. Other. Specify:                                                                                         17d.

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.                        $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                     19.                        $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                             20a.                       $0.00

       20b. Real estate taxes                                                                                       20b.                       $0.00

       20c. Property, homeowner’s, or renter’s insurance                                                            20c.                       $0.00
       20d. Maintenance, repair, and upkeep expenses                                                                20d.                       $0.00
       20e. Homeowner’s association or condominium dues                                                             20e.                       $0.00

Official Form 106J                                                              Schedule J: Your Expenses                                              page 2
 Debtor 1             Jennifer       Case:17-01220-swd
                                         Lee               Doc #:13 Filed: 03/30/17
                                                       Elliott                                              PageCase
                                                                                                                  32number
                                                                                                                      of 35(if known)
                                                                                                                17-01220
                      First Name            Middle Name             Last Name



 21. Other. Specify:                                                                                               21.    +                 $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                 22a.                 $2,623.86

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                         22b.                     $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                              22c.                 $2,623.86


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                            23a.                 $5,057.27

      23b. Copy your monthly expenses from line 22c above.                                                         23b.   –             $2,623.86

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                   23c.                 $2,433.41
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑
      ❑Yes.          Explain here:




Official Form 106J                                                             Schedule J: Your Expenses                                            page 3
                                       Case:17-01220-swd
 Fill in this information to identify your case:                                               Doc #:13 Filed: 03/30/17                                      Page 33 of 35
 Debtor 1                   Jennifer                      Lee                           Elliott
                             First Name                    Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                    Middle Name                    Last Name

 United States Bankruptcy Court for the:                                 Western District of Michigan

 Case number
 (if known)
                       17-01220
                                                                                                                                                                                   ❑Check if this is an
                                                                                                                                                                                       amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                           Your assets
                                                                                                                                                                                           Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                     $198,000.00


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                              $27,805.00


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                    $225,805.00



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                           Your liabilities
                                                                                                                                                                                           Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                             $210,590.11

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                                   $0.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                     +                  $72,259.00


                                                                                                                                                                  Your total liabilities                      $282,849.11

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                     $5,057.27


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                   $2,623.86




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                               page 1 of 2
                                   Case:17-01220-swd                     Doc #:13 Filed: 03/30/17                        PageCase
                                                                                                                               34number
                                                                                                                                  of 35(if known)
 Debtor 1             Jennifer              Lee                       Elliott                                                   17-01220
                      First Name             Middle Name              Last Name



 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑    No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑    Yes



7. What kind of debt do you have?
   ✔
   ❑    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
        family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                             $5,369.46




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                       Total claim

       From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                                       $0.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                              $0.00



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                                    $0.00



    9d. Student loans. (Copy line 6f.)                                                                                                $37,725.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                                    $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                         +                      $0.00



    9g. Total. Add lines 9a through 9f.                                                                                              $37,725.00




Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                                       Case:17-01220-swd
 Fill in this information to identify your case:                     Doc #:13 Filed: 03/30/17                    Page 35 of 35
 Debtor 1                Jennifer          Lee                  Elliott
                          First Name       Middle Name           Last Name

 Debtor 2
 (Spouse, if filing)      First Name       Middle Name           Last Name

 United States Bankruptcy Court for the:             Western District of Michigan

 Case number
 (if known)
                       17-01220
                                                                                                                                     ❑Check if this is an
                                                                                                                                        amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                               12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



              Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                             . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                      (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaraion and that they are true and correct.




   ✘ /s/ Jennifer Lee Elliott
        Jennifer Lee Elliott, Debtor 1                                ✘
        Date 03/30/2017                                                   Date
                MM/ DD/ YYYY                                                     MM/ DD/ YYYY




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
